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 arichmond@pryorcashman.com

 Counsel for Williams Hart Boundas Easterby, LLP,
 on Behalf of Certain Personal Injury Claimants


 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 ---------------------------------------------------------------x
 In re:                                                         :   Case No. 21-30589 (MBK)
                                                                :
          LTL MANAGEMENT LLC,                                   :   Chapter 11
                                                                :
                                     Debtor.                    :   Hon. Michael B. Kaplan
 ---------------------------------------------------------------x

                        APPLICATION FOR AN ORDER FOR ADMISSION
                           PRO HAC VICE FOR EDWARD L. RIPLEY

         Andrew S. Richmond, an attorney in the law firm of Pryor Cashman LLP, and a member

 in good standing of the state and federal courts of New Jersey, here moves for Entry of an Order

 for Admission Pro Hac Vice of Edward L. Ripley, Esq., to appear as counsel for Williams Hart

 Boundas Easterby, LLP, on Behalf of Certain Personal Injury Claimants (“Williams Hart

 Plaintiffs”), creditors in the above captioned case pursuant to D.N.J. L.B.R. 9010-1. In further

 support hereof, the undersigned refers this Court to the Certification of Edward L. Ripley

 submitted herewith.

         Unless requested by other parties, no oral argument is requested. No further papers should

 be required because this application does not raise any complex legal issues. A proposed form of
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 order for the requested relief is submitted herewith.


 Dated: New York, New York
        December 3, 2021
                                               PRYOR CASHMAN LLP

                                               By:/s/ Andrew S. Richmond
                                                   Andrew S. Richmond
                                               7 Times Square
                                               New York, New York 10036
                                               Telephone: (212) 421-4100

                                               Counsel for Williams Hart Boundas Easterby, LLP,
                                               on Behalf of Certain Personal Injury Claimants




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 Counsel for Williams Hart Boundas Easterby, LLP,
 on Behalf of Certain Personal Injury Claimants

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 ---------------------------------------------------------------x
 In re:                                                         :   Case No. 21-30589 (MBK)
                                                                :
          LTL MANAGEMENT LLC,                                   :   Chapter 11
                                                                :
                                     Debtor.                    :   Hon. Michael B. Kaplan
 ---------------------------------------------------------------x

                 CERTIFICATION IN SUPPORT OF THE APPLICATION FOR
                   ADMISSION PRO HAC VICE OF EDWARD L. RIPLEY

         I, Edward L. Ripley, certify the following in support of the Application for Admission Pro

 Hac Vice of Edward L. Ripley to Appear Pro Hac Vice on behalf of Williams Hart Boundas

 Easterby, LLP, on Behalf of Certain Personal Injury Claimants.

         1.       I am a shareholder of the law firm of Andrews Myers, P.C., which is located at

 1885 Saint James Place, 15th Floor, Houston, Texas 77056.

         2.       I am admitted, practicing and in good standing as a member of the Bar of the State

 of Texas (admitted November 8, 1985 in active status), the U.S. District Courts for the Southern,

 Northern, Western and Eastern Districts of Texas, the U.S. Court of Appeals for the Second, Fourth

 and Fifth Circuit Courts, and the United States Supreme Court.

         3.       I am not now, nor have I ever been, the subject of a disciplinary proceeding.
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        I declare the above statements to be true and correct under penalty of perjury as set forth

 in 28 U.S.C § 1746 and the laws of the District of New Jersey.


 Dated: December 3, 2021                             Respectfully submitted,
        New York, New York

                                                             /s/ Edward l. Ripley
                                                             Edward L. Ripley

                                                     Andrews Myers, P.C.
                                                     1885 Saint James Place, 15th Fl.
                                                     Houston, TX 77056
                                                     (713) 850-4200
                                                     (713) 850-4211 (fax)
                                                     Eripley@andrewsmyers.com




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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

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 Counsel for Williams Hart Boundas Easterby LLP,
 on Behalf of Certain Personal Injury Claimants




                                                            Case No.:   21-30589 (MBK)
 In Re:
                                                            Adv. No.:   n/a
 LTL MANAGEMENT LLC,
                                                            Chapter:    11

                                                            Judge:      Michael B. Kaplan
                           Debtor.



                                      ORDER FOR ADMISSION PRO HAC VICE


          The relief set forth on the following page is ORDERED.
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         This matter having been brought before the Court on application for an Order For
  Admission Pro Hac Vice; and the Court having reviewed the moving papers of the
  applicant, out-of-state attorney, and considered this matter pursuant to Fed.R.Civ.Proc.78,
  D.N.J. L.Civ.R.101.1 and D.N.J. LBR 9010-1, and good cause having been shown; it is

         ORDERED that Edward L. Ripley be permitted to appear pro hac vice; provided that
  pursuant to D.N.J. L.Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed
  promptly by a member of the bar of this Court upon whom all notices, orders and pleadings
  may be served, and who shall promptly notify the out-of-state attorney of their receipt. Only
  an attorney at law of this Court may file papers, enter appearances for parties, sign
  stipulations, or sign and receive payments on judgments, decrees or orders, and it is further
         ORDERED that the applicant shall arrange with the New Jersey Lawyers' Fund for
  Client Protection for payment of the annual fee, for this year and for any year in which the out-
  of-state attorney continues to represent a client in a matter pending in this Court in accordance
  with New Jersey Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited
  within twenty (20) days of the date of the entry of this Order, and it is further

         ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac
  vice admission to the District Court for the District of New Jersey shall also be payable within
  twenty (20) days of entry of this Order. Payment in the form of a check must be payable to
  "Clerk, USDC" and forwarded to the Clerk of the United States District Court for the District of
  New Jersey at the following address:




                                    United States District Court
                                      District of New Jersey
                              Martin Luther King, Jr. Federal Building
                                         50 Walnut Street
                                       Newark, N.J. 07102
                               Attention: Pro Hac Vice Admissions
                                                  2
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         and it is further ORDERED that the applicant shall be bound by the Local Rules of
  the United States District Court for the District of New Jersey and the Local Rules of
  Bankruptcy Procedure for the District of New Jersey; and it is further

         ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New
 Jersey Lawyers' Fund for Client Protection within 5 days of its date of entry.


                                                                                            rev. 8/1/15




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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                              Case No.:      21-30589 (MBK)
 In Re:
                                                              Adv. No.:      n/a
 LTL MANAGEMENT LLC,
                                                              Chapter:       11

                                                              Judge:        Michael B. Kaplan
                           Debtor.


                                     CERTIFICATION OF SERVICE

          I hereby certify that on the date below I caused a true and correct copy of the foregoing

 APPLICATION FOR ADMISSION PRO HAC VICE PURSUANT TO RULE 9010-1(B) to be

 filed electronically and that the same is available for viewing through the Court’s ECF system.


 DATED: December 3, 2021                                       /s/ Andrew S. Richmond
                                                               Andrew S. Richmond
